Case 5:24-cv-00769-XR Document 2 Filed 07/15/24 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Wester District of Texas [-]

MARK ANTHONY ORTEGA

Plaintiff(s)
v

; Civil Action No.
DH & RK INVESTMENTS LLC D/B/A FUNDQUBE

Defendant(s)

SUMMONS IN A CIVIL ACTION
To: (Defendant's name and address) Oh ae een LLC D/B/A FUNDQUBE

MIZNER PARK - 433 PLAZA REAL, SUITE 800
BOCA RATON, FL 33432

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received
are the United States or a United States agency, or an officer or employee of the United States de

Mark Anthony Ortega
PO Box 702099,
San Antonio, TX 78270

whose name and address are:

If you fail to respond, judgment by default will be entered against you for the relief dem;
You also must file your answer or motion with the court.

CLERK OF COURT Ph

JUL 15 2024 a
Date: [S. emer (|

SAZ4CA0 769K

it) — or 60 days if you
scribed in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

inded in the complaint.

lip J. Devlin

—,

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Signature of Clerk ¢ Deputy Clerk

Case 5:24-cv-00769-XR Document 2 Filed 07/15/24 Page z

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. C

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ;

This summons for (name of individual and title, if any)

of 2

P. 4 (i)

was received by me on (date)

CI personally served the summons on the individual at (place)

on (date)

C1 I left the summons at the individual’s residence or usual place of abode with (name)

; or

, aperson of suitable age and discretion w

ho resides there,

on (date) , and mailed a copy to the individual’s last known addres; or
1 I served the summons on (name of individual) , who is
designated by law to accept service of process on behalf of (name of organization)

on (date) : Or
I returned the summons unexecuted because 5 or
CO Other (specify):
My fees are $ for travel and $ for services, for a totallof $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:

